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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND

 SANDRA R. PERRY

        Plaintiff

                v.                                Civil Action No. 1:17-cv-03619-MJG

 STATE OF MARYLAND et al.

        Defendants


                                              Order
       Upon consideration of Defendant Allen J. Perdue’s Motion to Dismiss for Failure to

State a Claim Upon Which Relief Can Be Granted, the Plaintiff’s response thereto, if any, and

any oral argument, it is this        day of                             , 2018, by the United

States District Court for the District of Maryland,

       ORDERED, that Defendant Allen J. Perdue’s Motion to Dismiss be, and the same

hereby is, GRANTED;

       AND IT IS FURTHER ORDERED, that the Plaintiff’s Complaint be, and the same

hereby is, DISMISSED WITH PREJUDICE as to Defendant Allen J. Perdue.




                                              The Honorable Marvin J. Garbis, Judge
                                              United States District Court
                                               for the District of Maryland
